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                          United States District Court
  9
                          Central District of California
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 11   FEDERAL INSURANCE COMPANY,                   Case No. 2:21-cv-04069-ODW (JEMx)
 12                      Plaintiff,
 13        v.                                      JUDGMENT
 14
      SIMON WIESENTHAL CENTER, INC.
      and MORIAH FILMS,
 15
                         Defendants.
 16
 17
 18         Plaintiff Federal Insurance Company (“Federal”) initiated this action against
 19   Defendants Simon Wiesenthal Center, Inc. and Moriah Films (collectively, the
 20   “Center”) seeking declaratory judgment that the Center was not entitled to insurance
 21   coverage for COVID-19-related losses. (Compl. ¶¶ 1, 29, ECF No. 1.) The Center
 22   counterclaimed against Federal, seeking declaratory judgment for the same insurance
 23   coverage and asserting additional claims. (Am. Countercl. ¶ 1, ECF No. 25.)
 24         On October 14, 2021, the Court granted Federal’s Motion to Dismiss the
 25   Center’s Amended Counterclaim. (Order Granting Mot. Dismiss, ECF No. 37.) The
 26   Court found, pursuant to binding Ninth Circuit authority, that “the Center has not
 27   alleged any ‘direct physical loss or damage’ to property, [so] there is no ‘distinct,
 28   demonstrable, physical alteration’ under California law, and the Center is not entitled
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  1   to coverage under the Policy.” (Id. at 5.) The Court therefore dismissed the Center’s
  2   Amended Counterclaim. (Id. at 6.)
  3         As Federal’s sole cause of action seeks a declaration that the Center is not
  4   entitled to coverage under the policy, which question the Court necessarily resolved in
  5   dismissing the Center’s Amended Counterclaim, the Court finds declaratory judgment
  6   in favor of Federal on its sole cause of action appropriate. Nothing in the parties’
  7   Responses to the Court’s order to show cause alters this conclusion. In its Response,
  8   the Center essentially asks the Court to disregard binding Ninth Circuit authority,
  9   which the Court may not do, and reiterates arguments already rejected, which the
 10   Court finds no grounds to reconsider. (See Center’s Resp., ECF No. 38.)
 11         Accordingly, pursuant to the Court’s Order Granting Federal’s Motion to
 12   Dismiss, it is therefore ORDERED, ADJUDGED, and DECREED as follows:
 13         1.     Federal shall have Judgment on its sole cause of action for declaratory
 14                relief. The Center is not entitled to coverage for its claims under the
 15                Policy;
 16         2.     The Center shall take nothing by its Amended Counterclaim against
 17                Federal; and
 18         3.     The Center’s Amended Counterclaim is dismissed on the merits and with
 19                prejudice.
 20         The Court VACATES all remaining dates and deadline. The Clerk of the Court
 21   shall close the case.
 22
 23         IT IS SO ORDERED.
 24
 25         November 9, 2021
 26                               ____________________________________
 27                                        OTIS D. WRIGHT, II
                                   UNITED STATES DISTRICT JUDGE
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